         Case 1:16-cv-00840-EJD Document 36-1 Filed 08/06/18 Page 1 of 7


                                                                         REDACTED VERSION
                IN THE UNITED STATES COURT OF FEDERAL CLAIMS



 BITMANAGEMENT SOFTWARE GMBH,

                        Plaintiff,                      Case No. 16-840 C
                v.
                                                        Senior Judge Edward J. Damich
 THE UNITED STATES OF AMERICA,

                        Defendant.



                          DECLARATION OF PETER SCHICKEL

        I, Peter Schickel, hereby declare as follows:

        1.     I am the CEO of Bitmanagement Software GmbH (“Bitmanagement”), located in

Berg, Germany. I have served as CEO of Bitmanagement continuously since its founding in

2002.

        2.     As CEO of Bitmanagement, I have personal knowledge of the company’s

business practices, including its creation and maintenance of official business records. These

records include Bitmanagement’s license agreements with software purchasers and resellers.

Bitmanagement maintains these records both electronically and in hard copy at its headquarters

in Berg, Germany.

        3.     It is Bitmanagement’s regular practice to create records of its software licensing

transactions and their underlying license terms. When Bitmanagement enters into an agreement

to sell its software to a purchaser, Bitmanagement regularly creates a record documenting the

agreement and the terms of the sale. Bitmanagement creates these types of records both to




                                                -1-
         Case 1:16-cv-00840-EJD Document 36-1 Filed 08/06/18 Page 2 of 7


                                                                        REDACTED VERSION
document the terms of sale and to protect against subsequent misuse of the software by

purchasers and third parties. Bitmanagement routinely creates these types of records when

selling software licenses to Planet 9 Studios, Inc. (“Planet 9”).

       4.      The June 14, 2012 Software License Agreement (“Agreement”) between Planet 9

and Bitmanagement, BITMGMT_0021514-20 (attached hereto as Exhibit A), is a true and

correct copy of an original record maintained by Bitmanagement regarding Bitmanagement’s

sale of 18 PC licenses of BS Contact to Planet 9 in June 2012 intended for resale to the United

States Navy (“Navy”). Following its creation, the Agreement was kept electronically on

Bitmanagement’s servers and PCs, consistent with Bitmanagement’s regular record management

procedures.

       5.      The Agreement was drafted at or near the time that Bitmanagement agreed to sell

18 PC licenses of BS Contact to Planet 9 for purposes of resale to the United States Navy, and

shortly before Planet 9 delivered the 18 PC licenses to the Navy in July 2012. The Agreement

was drafted by me and Bitmanagement personnel knowledgeable about Bitmanagement’s

agreement with Planet 9.

       6.      Therefore, I have firsthand knowledge regarding Bitmanagement’s willingness to

sell the 18 PC licenses to Planet 9 in June 2012. We negotiated the terms of the reseller

agreement with Planet 9 prior to drafting the Agreement.




                                                -2-
         Case 1:16-cv-00840-EJD Document 36-1 Filed 08/06/18 Page 3 of 7


                                                                           REDACTED VERSION
       7.      Although Planet 9 and Bitmanagement did not sign the contract, the Agreement

reflects our final agreement with Planet 9 and the terms of Planet 9’s resale of the licenses. We

subsequently did not modify the substance of the contract, except for adding the specification

“Planet9 Studios acting as reseller.” on the cover page, as well as adding “or “Reseller,”” but left

ALL terms of the licenses granted to Planet 9 in the Agreement unchanged. Pursuant to those

terms, we agreed to sell 18 PC licenses for our software BS Contact to Planet 9, which would

resell them to NAVFAC. We agreed that Planet 9 should pay Bitmanagement a total of

$4,222.98 for the licenses. On October 1, 2012, the Navy, as far as I know, paid Planet 9 for

these licenses, and Planet 9 remitted payment to Bitmanagement later that month.

       I, Peter Schickel, declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct to the best of my knowledge.

       Executed this 31st day of July, 2018, in Berg, Germany.



                                                             [signature]

                                                      Peter Schickel




                                                -3-
Case 1:16-cv-00840-EJD Document 36-1 Filed 08/06/18 Page 4 of 7


                                                 REDACTED VERSION
Case 1:16-cv-00840-EJD Document 36-1 Filed 08/06/18 Page 5 of 7


                                                REDACTED VERSION
Case 1:16-cv-00840-EJD Document 36-1 Filed 08/06/18 Page 6 of 7


                                                REDACTED VERSION
Case 1:16-cv-00840-EJD Document 36-1 Filed 08/06/18 Page 7 of 7


                                                REDACTED VERSION
